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13
                                UNITED STATES DISTRICT COURT
14                            NORTHERN DISTRICT OF CALIFORNIA
                                   SAN FRANCISCO DIVISION
15
      In re: CATHODE RAY TUBE (CRT)                     Master File No. 3:07-md-05944-SC (N.D.
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      ANTITRUST LITIGATION                              Cal.)
17
                                                        MDL No. 1917
18    This Document Relates to: Individual Case
      No. 13-cv-2171 (SC)                               PROPOSED ORDER
19
      DELL INC. AND DELL PRODUCTS L.P.,
20

21           PLAINTIFFS,

22           V.
23    HITACHI, LTD., ET AL.,
24
             DEFENDANTS.
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     PROPOSED ORDER                                                                      3:13-cv-02171-SC
                                                                                             MDL No. 1917
             Case 3:07-cv-05944-JST Document 4156 Filed 10/29/15 Page 2 of 2


 1          The Court having considered the stipulation of the parties, and good cause appearing therefore,
 2   orders as follows:
 3          1. All claims asserted by Dell Inc. and Dell Products L.P. against Defendants Mitsubishi
 4              Electric Corporation, Mitsubishi Electric & Electronics USA, Inc. (n/k/a Mitsubishi Electric
 5              US, Inc.), and Mitsubishi Electric Visual Solutions America, Inc., as successor to
 6              Mitsubishi Digital Electronics America, Inc. (collectively, “Mitsubishi Electric”) in the
 7              underlying action are hereby dismissed with prejudice pursuant to FRCP 41(a)(2).
 8          2. Each party shall bear their own costs and attorneys’ fees.
 9          IT IS SO ORDERED.                                                  ISTRIC
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                   10/29
     Dated: _________________, 2015                              _______________________________



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                                                                                                       RT
                                                                 Honorable Samuel Conti

                                                              UNIT
12                                                               United States District Judge




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     PROPOSED ORDER                                                                                  3:13-cv-02171-SC
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